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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                 Civil Action No. 3:22-cv-00211-SDD-SDJ
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                      Plaintiffs,

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana.

                          Defendant.


EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
                     Plaintiffs,              Civil Action No. 3:22-cv-00214-SDD-SDJ

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana.

                          Defendant.




    PLAINTIFFS’ RESPONSE TO DEFENDANT STATE OF LOUISIANA’S
       NOTICE OF ENACTMENT OF NEW CONGRESSIONAL MAP
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      In response to Defendant’s Notice, ECF 342, in accordance with this Court’s Order on the

Consent Motion for a Scheduling Order, ECF 330, and consistent with the Court’s Order of today

cancelling the February 5, 2024 evidentiary hearing, ECF 343, the Robinson Plaintiffs respectfully

submit that the enactment of new congressional map vacates the remaining deadlines tied to the

trial previously scheduled for that date, ECF 330 at 2, and makes operative the March 25, 2024

trial schedule, id. at 3. Pursuant to the now-operative schedule, Plaintiffs intend to notify the Court

by February 6, 2024 of their position on the new enacted congressional map. If warranted,

Plaintiffs will file an amended or supplemental complaint by February 8, 2024.



 DATED: January 25, 2024                            Respectfully submitted,

                                                    By: /s/ Adam P. Savitt_____

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                                                 **Practice is limited to federal court.




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